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The Joint United States Coast Guard / Minerals

Transcript of the Testimony of

Management Service Investigation

Date taken: May 27, 2010
AM Session

USCG/MMS Marine Board of Investigation

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EXHIBIT

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USCG/MMS BOARD OF INVESTIGATION
INTO THE MARINE CASUALTY, EXPLOSION, FIRE,
POLLUTION AND SINKING
Of MOBILE OFFSHORE DRILLING UNIT
DEEPWATER EORIZON, WITH LOSS OF LIFE
IN THE GULF OF MEXICO, 21-22 APRIL 2010

THURSDAY, MBY 27, 2010

The Transcript of the Joint United
States Coast Guard/Minerals Management
Service Investigation of the above entitled
cause before CATHY RENEE‘ POWELL, a
certified court reporter authorized to
administer oaths of witnesses pursuant to
Section 961.1 of Title 13 of the Louisiana
Revised Statute of 1950, as amended,
reported at the Ratiisson Hotel, 2156
Veterans Memorial Boulevard, Kenner,
Lovisiana 70062, on Thursday, May 27, 20106,

beginning eat §:00 a.m.

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Vator fe invertigqation
. Page 2 Page 4 :
gis 1 PROCEEDINGS fs
2 a 2 CAPTAIN NGUYEN: :
MEMBERS OF THE BOARD: 3 Good moming. Please be seated so
q 4 ' ear
e cece eNGEYEG we ae the hearing started.
CO-CHAIR UNITED STATES.COAST GUARD - ‘porter, please go on record.
g ss 6 There is a change in the list of
AVIDDYKES eon a 7 scheduled witnesses this morning. This
‘ CO-CHAIR MINERALS MANAGEMENT SERVICE 8 morning, the board was informed by :
9 JASON MATHEWS 2 Mr. Mansfield's counsel that due to medical
MINERALS MANAGEMENT SER VICE 10 reasons, he could not be here for this
 SoneenenY 11 hearing. So the board will reschedule to
MINERALS MANAGEMENT SERVICE 12 receive his testimony at the next hearing in i
= siaieatines 13 mid-July. We will take testimony of
"UNITED STATES COAST GUARD 1¢ Mr. Jimmy Harrell, offshore installation
14 15 manager, for this morning.
15 LTR ROBERTBUTTS, COURT RECORDER 16 Good morning, Mr, Harrell. Are
“ UNITED STATES COAST GUARD 17 you represented by counsel, do you nave your
27 REPORTED BY: 18 own counsel or are you represented by
18 CATHY RENEE’ POWELL 13 Transocean counsel?
55 CERTIFIED COURT REPORTER 20 THE WITNESS:
20 EXAMINATION INDEX ot Transocean.
21 EXAMINATION BY MR. MATHEWS: .o.ccccc07 22 CAPTAIN NGUYEN:
22 EXAMINATION BY MR. MoCARROLL: wascsn3O 23 Please rise, and | will give you
23 eae Ey - DYKES: wesc 32 24 the oath
24 MINATION BY MR. WHEATLEY: ......... 36 =
25 EXAMINATION BY MR. MATHEWS: 50 25 JIMMY HARRELL,
Page 3 Page 5
1 EXAMINATION BY LT. BUTTS: .....W.....52 1 having been Grst duly sworn as a witness,
2 EXAMINATION BY MR. DYKES: ..............57 2 was examined and testified as follows:
3 EXAMINATION BY MR. LINSIN: .............60 3 CAPTAIN NGUYEN:
4 EXAMINATION BY MR. JONES: .............62 4 Mr. Harrell, | want to make sure I
5 EXAMINATION BY MR. DYKES: ............. 67 5 understand. You do not have personal
6 EXAMINATION BY MR. GODWIN: .............72 6 counsel: is that right? Transocean is your
7 EXAMINATION BY MR. GORDON: ...000.....91 7 counsel?
& EXAMINATION BY MR. GODFREY: .u.0......107 8 THE WITNESS:
9 EXAMINATION BY MR. MATHEWS. ..........128 g That's correct,
10 EXAMINATION BY MR. DYKES: ............130 10 EXAMINATION BY MR. MATHEWS:
11 EXAMINATION BY CAPTAIN NGUYEN: ........ 131 | 11 Q. Mr. Harrell, would you state your
12 EXAMINATION BY MR. DYKES: ..........!144 12 name and spell it for the record.
13 EXAMINATION BY MR. WHEATLEY: .........152 i3 A. Jimmy Harrell, H-A-R-R-E-L-L.
14 EXAMINATION BY MR. MATHEWS: ..._.......178 14 Q. By whom are you employed, sir?
15 EXAMINATION BY MR. McCARROLL-: ......... 184 15 A. Transocean.
16 EXAMINATION BY LT. BUTTS: ......0...185 16 Q. And what position do you hold?
17 EXAMINATION BY CAPTAIN NGUYEN: .......190 | 17° A. Offshore installation manager. :
18 EXAMINATION BY MR. GODFREY. ...........198 18 Q. And how long have you held the i
19 EXAMINATION BY MR. GORDON: ............ 208 19 position of OIM?
20 EXAMINATION BY LT. BUTTS: ............ 214 20 A. About six and 2 half years.
21 22 Q. Can you briefly describe your job
22 22 responsibilities on board the DEEPWATER
23 23 HORIZON.
24 24 A. I deal a lot with personnel, you
25 25 know, but overall responsibility on
2 (Pages 2 to 5}
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6

UECa sie avis Investagation
Page 130 Page 1326
1 vessel ijost power for two minutes? What 1 scenarios, finding out what caused the
2 happened to emergency power and all that? 2 probiem and fixing the problems before they
3 A. It was an over-speed problem. 3 return to work.
4 Q. But & was only one engine, right? & Q. Did you contact class society?
3 A. Yes, but it took the other one 5 A. [did not.
6 when it went down. | know one engine 6 Q. Did you contact the flag state?
7 started back up. 7 A. Idid not.
8 Q. Butit tooktwo minutes? What 8 Q. Have you seen this organizational
9 happened to the emergency power? Did it 2 chart before?
10 come on when the regular power went out? i0 A. Yes. We have it posted on the
il A. l can't remember all the details, Ll rig.
12 butit was close to a couple of minutes. 12 Q. The BP vessel, when would it not
23° Q AsOlMand you have a total loss 13 be under way?
14 of power for two minutes, is that a concem 14 A. When you are latched up to the
15 te you? 15 wellhead. That means you are latched up To
16 A. It's according to the weather 16 the BOP with a welthead.
7 conditions, how fast you drift off u7 Q. Is that their definition of "under
1& Q. But having ~ so if the weather 18 way"?
1S were perfect, you would be fine with that? 19 A. Ithought you said "not under
20 A. Yeah. It takes several minutes. 20 way.”
21 [report to the bridge in case of an 21 Q. That's right. What I am saying
22 emergency like that, and ] do remember being 22 is, “latched up," does that meaa it is not
23 up there, 23 under way?
24 I don’ recollect getting too far 24 A. That's correct.
25  offlocation during that two minutes. 25 Q. According to whose definition?
Pace 131 Page 133 (5
4 Q. So the vessel is a dynamically i A. To the chart here. J mean, any
2 positioned vessel? 2 time we are not latched up, we have to ge :
3 A. Yes. 3 through customs and all that. And the
4 Q. Andif you lost power, you could 4 captain on‘board the DEEPWATER HORIZON, he
5 start to drift off? 5 is in charge when we are not iatched up, E
6 A. Yes, sir. 6 under way. OIM is in charge when we're 4
7 Q. What if you were drilling and lost 7 under way. B
8 total power, would that be a concern to vou? 8 Q. Nautical terminology, "under way,
9 A. Yes, itis any time. You have 2 not under way," those are standard i
10 more steps to go through when you have pipe 10 terminologies. What] am saying is,
11 across there. You have to hang off when you 11 latching up is not an anchoring system, so E
12 getintoa yeliow condition; and red, you 12 would the vessel be continuously under way? bE
13 have to disconnect, 13. A. No. :
14  Q Soaloss of power should be a 14 Q. Who says "no"? is it Transocean?
15 concern to yon, right? 15 A. I say no, because you are E
16 A. Yes, i will be talking io the 165 restricted in your maneuverability when you :
17 drill floor. 17 are iatched up. :
16 Q. Do you report the incident to 13 Q. Sois the drilling system an :
19 anybody? 193 anchoring system?
20 A. Yes. 20 A. No, itisa DP.
21 @. Whodo you report it to? Bi Q. Buta DP is not an anchoring
22 A. Upper management, rig management. 22 system?
23 Q. And what happens after that, after 23 A. Correct.
24 the report up to rig management? 24 Q. So the vessel is continuously
25 A. They go through different 125 under way, is it not?
34 (Pages 130 to 133)
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[ Page 134 Page 136
1 A. No, itisnot. You are holding, 1 to activate the BOP and you try to activate :
2 maintaining position when you are latched 2 the EDS and you have no indication of ie
3 up. You are not making any way. 3 whether the EDS was activated or not. i
4 Q. But you are under way? 4 So if it didn't activate, assuming
5 A. No. 5 that you were in command before the :
6  Q Youare not making way, but you 6 incident, if the EDS didn't activate, would ,
7 areunder wey, Correct? 7 you still be in command throughout the :
8 MR. CLEMENTS: & evolution here instead of the master?
9 it has been asked and answered 9 A. Yes, If it wasn't latched up, :
10 several times. 10 yes. I mean, if it wasn't unlatched during E
li CAPTAIN NGUYEN: 11 the EDS signals. ;
12 lunderstand. 12 Q. So itis not very clear, is it, in
13 EXAMINATION BY CAPTAIN NGUYEN: i3 terms of whether the master was in charge of
14 Q. When you say that you are the OIM 14 the situation or you were in charge of the
15 and in charge of the vessel and its 15. situation, so there was chaos, right? E
16 personnel, it seems to me that you don't 16 A. There wasn't chaos about that.
17 have visibility on some of the activities 17 Q. I don't understand. Did you have
18 going on on the vessel in terms of the 18 ahandoff? How did the handoff take place
19 testing, the results and things like that. 19 between you and the master in terms of this
20 So I want to make sure that when | 20 evolution?
21 look at the safety net, somebody is in 1 A. We worked together, out that is
22 charge of that vessel at all times. And I 22 something — 1 mean, | do turn it over to i
23 want te make sure that people understand 23 him. Like, if we are going to a new
24 that. Okay? If the vessel is under way, 24 focation, after we unlatch, he becomes in
25 what does it mean? Who is in charge? 25 charge. But I am still responsible for the
Page 135 : Page i371:
1 From my understanding of the i safety of everybody out there no matter
2 configuration of the vessel, this vessel is 2 what. i
3 alittle under way, It may not be making 2 Q. fm just trying to understand d
4 way, but it is under way. So according to 4 here, especially in a crisis situation, the
2 your organization there, it is always going 5 line of communication and the chain of i
6 tobe the master of the vesse] who is in 6 command. The line of authority has to be :
7 charge. 7 clear here. fam not very clear on what :
8 Let's say you were in charge when 8 happened. Because of the way the :
2 you were latched up. Now, according to your 9 organization is set up, I am not very clear i
10 testimony, according to the transfer of 10 on how that transition of authority took :
11 command, what you are saving is, once the 11 place during the casualty. :
12 abandon ship is ordered by the master, there 12 Did it ever hand off between you :
13 is some kind of transfer of command that 13 and the master of the vessel? ;
14 takes place between you and the master, 14 A. No, [never made a handoff because :
15 correct? 15 itdid not unlatch. You could see.the slip
16 =A. Yes. 16 jointcome up in the —
17 =. When does that take place? When 17 Q. Se people were still looking to S
18 the EDS is activated? When docs that 18 you for direction?
19 transfer of command take piace? Under what 12 A. Yes. E
20 conditions? 20 Q. People were still looking for you :
21 sO A. ~-‘Yeah, it would be after the 21 to order the abandon ship?
22 disconnect, because once you disconnect from 22 A. Well, yeah, but like I say, the i
Z3 the well, he would be in command at thar 223 captain, he plays a major role too in an
24 time. 24 emergency and all.
25  Q. So from what] understand, you try 25 Q. funderstand. | think that is—

ee Tae AT NA ET ES a ee

35 {Pages 134 to 137}

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Page 150 Page 152 &
1 CAPTAIN NGUYEN: 1 Q. Wouid it be fair to say you are
2 Yes. 2 responsible for supervision of required
3 EXAMINATION BY MR. WHEATLEY: 3  imspections and certifications and things
4 Q. Wouid you viease state and spell 4 related to that for the DEEPWATER HORIZON?
3 your name. 5 A. Correct.
6 A. Curt Robert Kuchte, K-U-C-H-T-A. 6 Q. Could you basically kind of
a Q@. Do you currently have counsel, 7 outline for us what we have seen in the
8 Captain? & organizational chart related to the
9 A. Ido. 9 DEEPWATER HORIZON, your relationship with
10 Q. And is it Mr. Konnke? 10 the OFM?
il A. Yes. 11 A. In reference to?
12 Q. Do you hold any Coast Guard 12 Q. How do you interact with him, what
13 licenses or credentials? 13 types of communications do you have, how
14 A. Master 100 tomage, USCG. 14 often do you discuss issues of concem?
15 @. When did you first obtain that 15 A, Whenever one arises. We have
16 certification? 16 extremely open communications. Any time any
17 A. [want to say —on the license 17 type of question arises, whether on the
18 right now, I'm not sure of the exact date. 18 drilling side or marine side, whatever side,
19 Well, the new one was issued 19 wehave very, very good, open
20 May 4. [have been in that position for 20 communications. We have worked together
21 about two years on the HORIZON. 21 quite a while.
22 Q. And wouid you please outline your 22 Q. De you have regular safety
23 background for us. 23 meetings as such? ;
24 A. Igraduated from Massachusetts 24 A, Yes, we have numerous meetings, li
25 Maritime Academy in 1998. Went to work as a 25 Q. Have you ever seen this chart :
Page 151 Page 153 j
1 third mate for Reading & Bates on board the 1 before?
2 PATHFINDER. Stayed on board as third mate 2 A. Yes.
3 until F went to another ship in 2008. 1 3 Q. Are you familiar with it?
4 went to help build two new projects, and 4 A. Yes.
5 then came back to be master in 2008 on the 5 Q. Is it fair to say this is the
6 DEEPWATER HORIZON. 6 organizational chart for the DEEPWATER
t Q. Thank you. Could you outline your 7 HORIZON?
8 education, please. 8 A. Yes.
9 A. Massachusetts Maritime Academy, g Q. It was basically effective on the
10 bachelor of science in marine 10 date of the incident which we are
11 transportation. 11 discussing, April 207
12 Q. What is your current title? L2 A. Yes.
13 A. Master. 13 Q. You can see here it identifies the E
14 Q. When did you first assume that 14 OIM as the person in charge, and it places E
25 role? 15 you in the top line on the left. We have :
16 =A. June of 2008. 16 had a number of questions, if you will, ;
17 Q. As the master of the DEEPWATER 17 about whe is in charge and at what point and :
18 HORIZON, could you cutline for us the scope 18 when that role changes, how do you know? K
19 of your duties and responsibilities? 19 Basically, when the vessel is :
20 A. Sure. Saiety of the vessel, 20 under way, making way, you as the master :
21 navigation of the vessel while under way and 21 would be in charge of the vessel. is that :
22 station-keeping. | supervise the 22 true? 3
23  station-keeping as well as ali the 23 A. Correct.
24 regulatory on the vessel side of it. Class, 24 Q. At what point, based upon your
Z5. satety, that type of thing. 25 understanding of this organizational chart,
Se STE SST ay ee eee ee SSR SFT ee OT ee a ee

39 (Pages 150 to 153)

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f,9 Investigation

Page 154 Page 156 f
1 does the OIM assume the roie of being in 1 DEEPWATER HORIZON?
2 charge of the entire rig? 2 A. That is a very broad question. In
3 A. When we latch up. 3 reference to what aspect of it?
4 Q. That's your understanding of the 4 Q. H you will, kind of the kr
5 distinction between the two positions? 5  10,000-foot view level. How about what the e
6 A. Yes,sir. € SMS is and how it applies to the DEEPWATER ;
7 Q. Intimes of emergency, we heard ? HORIZON.
8 testimony of the OIM, basically the master 8 A. Pmsorry. tis such a broad
9 assumes the role of being in charge, 9 question. :
10 correct? 10 QQ. Onboard the DEEPWATER HORIZON, :
11 A, Correct. li did you have an SMS? :
12 Q. How do you know when that transfer 12 A. Yes. F
13 ofrole takes place? 13 Q. Do you know who approved that
24 A. There is always extremely good 14 pian?
15 communication, so it has never been an 15 A. Yes.
16 issue. | mean, there has never been an 16 Q. Who was that?
i7 issue where it has come up. 17 A. DNV.
18 = Q. On the 20th of April, when the 18 Q. Do you know if it complied with
19 incident occurred, did you have a formal 13 IMO standards?
20 handoff of responsibility between yourself 20 A. Yes.
21 and the OFM? 21 Q. Who on the rig is designated as
22 A. Inthat short time frame, no. 22 the safety management officer, or the safety
23 However, we were both on the bridge 23 officer?
24 communicating about what was happening. 24 A. It has been a long five weeks. At
25 Q. Now, being a mariner, obviously 25 this point in time, | don't recall. Those
Page 155 Page 157
1 you are familiar with the term “underway, i types of questions, a few weeks ago would
2 not making way"? 2 have beenno problem. But as you can :
3 A. Yes, sir. 3 imagine, it has been a rather difficult few
4 Q. When the vessel is latched up to 4 weeks.
5 the BOP, is the vesse] under way, not making 5 Q. LT understand, sir.
6 way? 6 Could you tell us how your company
7 A. That would go back to the 7? documented their compliance with the Safety
8 corporation. 8 Management System? ;
9 QQ, Based on your understanding of the Ss A. I'm sorry, I don't understand. :
10 COLREGS, when you are under way, is the OIM 10 Q. Well, there are certain
11 or you in charge? 11 requirements —
12 A. igo back to — once you are on 12 A. We go through the inspection every
13 jocation, latched up, the dynamic i3 two anda half years as required.
14 positioning system has it under control. 14 Q. Do you have annual inspections? ‘
15 Q. When you are latched up, you are i5 A. Yes, through ABS, class.
16 still under way? 16 Q. Is that part of your safety
17 ~~ A.: T would say that. 17 requirements as well? E
18 QQ. So would it be your opinion that 18 A. Yes. :
13 COLREGS no jong apply at that point? ig Q. Do you know where those are :
20 A. No, they still apply. But that is 20 documented on the DEEPWATER HORIZON, the
21 for actual definition. Like ! said, it has 21 fact they have been completed? E
22 never been a probiem being latched up 22 A. They are in a binder in my office,
23 conducting drilling operations. 23 every signed copy.
24 Q. Couid you basically outline for us 24 Q. Do you know if you have terna!
25. the scope of the SMS plan on board the 5 audits to ensure your compliance --
TT Se a EES

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2 but! don't recall. i We did havea riser and BOP down.
2 Q. One final question. Was the 2 EXAMINATION BY MR. GORDON: E
3 DEEPWATER HORIZON under a daily rate 3 Q. Do you consider that, sir, to be i
4 contract or a yearly contract with BP at the 4 anchored to the ground?
5 time of the incident? 5 You are the captain of the vessel,
6 A. I don't recall. 6 sir?
7 MR. GODFREY: 7 MR. KOHNKE:
8 Thank you. I have no further 8 Here is the problem. Mr. Gordon,
& questions. 9 this witness has raised his right hand and
10 MR. GORDON: 10 taken an oath and been toid that a false
11 Captain, would it be okay if | 11 statement is punishable by both jail anda
12 asked questions too? 12 fine.
13 EXAMINATION BY MR. GORDON: : 13 You are asking him now to
14 =Q. Ewant to talk to you about 14 interpret something. There is no black or
15 COLREGS. Are you familier with them? iS white, there is no absolute here. Iam
16 =A. Obviously, a week ago, I was much 16 very, very reluctant to allow him to
17 more familiar with them, but yes. 17 interpret something in an argument with
18 Q The DEEPWATER HORIZON, was shea 18 counsel. So proceed very carefully, please.
19 vessel? 19 EXAMINATION BY MR. GORDON:
20 =A. Yes. 20 Q. Have you had a chance to read it,
21 Q. Were you the master of that 21. sir? R
22 vessel? 22 A. Iflam going to be asked about
23 A. Yes. 23 it, | would like to keep it in front of me.
24 . Was she operating in U.S. waters? 24 Q. ! would like to introduce this as
25 A. Intemational waters. 25 an exhibit.
Page 207 Page 209
1 Q. Was she subject to the IMO regs? 1 I oniy have the one — do you have
2 A. Yes. 2 acopy of this?
3 Q WasRule3 ofthe IMO regs 3 CAPTAIN NGUYEN:
& applicabie to your vessel, sir? 4 You brought the docurnent
5 A. In what section of the IMO regs? 3 Can | ask you the relevance of
6 Q. Rule 3. What is highlighted with 6 your questioning before you introduce
7° anasterisk. 7 something in the record?
8 A. The word “under way." 8 MR. GORDON:
S$ . Okay. So it defines under way, g I have here Marine Notice 7-038-2,
10 correct? 10 the Marshall Islands document, which is --
12 OA. Correct. ll this DEEPWATER HORIZON was flagged to the
12 Q. Could you please read that into 12 Marshall Isiands. In it, under the "Minimum
13 the record? 13 Safe Manning," it has something called “On
14 A. “The word ‘under way’ means that e 14 {ocation."
45 vessel is not at anchor or made fast to 15 The COLREGS do not have that
16 shore or ground." 16 definition, so! would like to ask the
17° = -Q.-~ Okay. Just prior to the 1? captain if he considered his vessel
18 expiosion, was the DEEPWATER HORIZON fixed 16 wunoperating (sic) when they had the BOP
19 tothe ground or anchored? 19 down, Operating under the Schedule A of
20 MR. KOHNKE: 26 2.2.5, or if he considered himself subject Fs
21 When you say "fixed," do you mean 21 tothe COLREGS.
22 made fast to the ground? 22 The reason, if you are on location
23 MR. GORDON: 23 inthe Marshall islands, you don't need a
24 Yes. 4 master, you just need an OIM. Sol am
25 THE WITNESS: 25 trying te figure out under what rules they
93 {Pages 206 to 209)
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Page 214 i
1 THE WITNESS: E
2 Yes, sir. :
S CAPTAIN NGUYEN: E
4 Thank you, you are dismissed. We :
5 areadjourned for the moming, please come i
6 back at 1:30. E
7 (Recess for lunch.) E
8
9
10
11
12
13
14
is
16
El
18
19
20
21
22 :
23
24
25
Page 215 :
Z }
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3
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55 (Pages 214 to 215)
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